            Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 1 of 14




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


SYMBOLOGY INNOVATIONS, LLC,                        )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )     Civil Action No. 6:23-cv-0402
                                                   )
ADT INC.,                                          )
                                                   )
               Defendant.                          )
                                                   )


                 ADT INC.’S ANSWER AND AFFIRMATIVE DEFENSES
                          TO SYMBOLOGY’S COMPLAINT

       Defendant ADT Inc. (“ADT”) hereby answers Plaintiff Symbology Innovations, LLC’s

(“Symbology”) Complaint (the “Complaint”) in the Western District of Texas (the “District”).

ADT answers and avers as follows, with the numbered paragraphs corresponding to the like-

numbered paragraphs of the Complaint. Allegations not expressly admitted herein are denied.

                                           PARTIES1

       1.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 1, and therefore denies each of the allegations in paragraph 1 of the Complaint.

       2.      ADT admits it is organized under the laws of the State of Delaware. ADT admits

its principal place of business and corporate headquarters is at 1501 Yamato Road, Boca Raton,

Florida, USA 334314. ADT admits it may be served with process through its registered agent,

CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201, USA.




1
 The headings in the Complaint are reproduced herein for the convenience of the reader. To the
extent such headings include or infer allegations, they are denied.
                                                 1
                                                                                       4891-6339-2623
            Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 2 of 14




                                 JURISDICTION AND VENUE

       3.      ADT admits that this is an action for alleged patent infringement arising under

Title 35 of the United States Code.

       4.      ADT admits that the Court has subject matter jurisdiction over this action under

28 U.S.C. §§ 1331 and 1338(a).

       5.      ADT admits that it has a place of business in this District. For the purposes of this

action only, ADT does not contest personal jurisdiction in this Court over ADT. ADT denies the

remaining allegations in paragraph 5 of the Complaint.

       6.      ADT admits that it has a place of business in this District. For the purposes of this

action only, ADT does not contest personal jurisdiction in this Court over ADT. ADT denies the

remaining allegations in paragraph 6 of the Complaint.

       7.      ADT admits that it has a place of business in this District. For the purposes of this

action only, ADT does not contest personal jurisdiction in this Court over ADT. ADT denies the

remaining allegations in paragraph 7 of the Complaint.

8.     ADT denies venue is proper in this District under 28 U.S.C. § § 1391(b) and 1400(b) as

ADT is neither incorporated in Texas nor has its principal place of business in this District. ADT

admits that it has a place of business in this District. For the purposes of this action only, ADT

does not contest venue under 29 U.S.C. §§ 1391(b) and 1400(b) but denies that this is the most

appropriate or convenient venue for this action. ADT denies the remaining allegations in

paragraph 8 of the Complaint.

                                        PATENT-IN-SUIT

       9.      ADT lacks sufficient information regarding ownership of the patents and

therefore denies that Symbology owns the U.S. Patent Nos. 7,992,773 (the “’773 Patent”),

8,424,752 (the “’752 Patent”) and 8,651,369 (the “’369 Patent”) (collectively the “Patents-in-

                                                 2
                                                                                         4891-6339-2623
             Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 3 of 14




Suit”). ADT denies the remaining allegations in paragraph 9 of the Complaint.

       10.      ADT denies each of the allegations in paragraph 10 of the Complaint.

       11.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 11, and therefore denies each of the allegations in paragraph 11 of the

Complaint.

       12.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 12, and therefore denies each of the allegations in paragraph 12 of the

Complaint.

       13.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 13, and therefore denies each of the allegations in paragraph 13 of the

Complaint.

       14.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 14, and therefore denies each of the allegations in paragraph 14 of the

Complaint.

       15.      ADT admits that Exhibit A to the Complaint, purported to be a copy of the ’773

patent, includes eighteen claims, including three independent claims and fifteen dependent

claims. ADT denies the remaining allegations in paragraph 15 of the Complaint.

       16.      ADT lacks sufficient factual basis to determine the priority date of the ’773

patent, and therefore denies such allegations in paragraph 16 of the Complaint. ADT denies the

remaining allegations in paragraph 16 of the Complaint.

       17.      ADT denies the allegations in paragraph 17 of the Complaint.

       18.      ADT admits that Exhibit B to the Complaint, purported to be a copy of the ’752

patent, includes 28 claims, including three independent claims and 25 dependent claims. ADT

denies the remaining allegations in paragraph 18 of the Complaint.

                                                 3
                                                                                        4891-6339-2623
             Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 4 of 14




       19.      ADT lacks sufficient factual basis to determine the priority date of the ’752

patent, and therefore denies such allegations in paragraph 19 of the Complaint. ADT denies the

remaining allegations in paragraph 19 of the Complaint.

       20.      ADT denies the allegations in paragraph 20 of the Complaint.

       21.      ADT admits that Exhibit C to the Complaint, purported to be a copy of the ’369

patent, includes 28 claims, including three independent claims and 25 dependent claims. ADT

denies the remaining allegations in paragraph 21 of the Complaint.

       22.      ADT lacks sufficient factual basis to determine the priority date of the ’369

patent, and therefore denies such allegations in paragraph 22 of the Complaint. ADT denies the

remaining allegations in paragraph 22 of the Complaint.

       23.      ADT denies the allegations in paragraph 23 of the Complaint.

       24.      To the extent that paragraph 24 contains excerpts from the Patents-in-Suit, ADT

neither admits nor denies those excerpts, and respectfully refers the Court to the Patents-in-Suit

themselves.

       25.      To the extent that paragraph 25 contains excerpts from the Patents-in-Suit, ADT

neither admits nor denies those excerpts, and respectfully refers the Court to the Patents-in-Suit

themselves. Further, ADT lacks sufficient factual basis to determine the accuracy of the

remaining allegations set out in paragraph 25, and therefore denies each of the remaining

allegations in paragraph 25 of the Complaint.

       26.      ADT denies the allegations in paragraph 26 of the Complaint.

       27.      ADT denies the allegations in paragraph 27 of the Complaint.

       28.      ADT denies the allegations in paragraph 28 of the Complaint.

       29.      To the extent that paragraph 29 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

                                                 4
                                                                                        4891-6339-2623
             Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 5 of 14




respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 29 of the Complaint.

       30.      To the extent that paragraph 30 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 30 of the Complaint.

       31.      To the extent that paragraph 31 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 31 of the Complaint.

       32.      ADT denies the allegations in paragraph 32 of the Complaint.

       33.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 33, and therefore denies each of the allegations in paragraph 33 of the

Complaint.

       34.      To the extent that paragraph 34 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 34 of the Complaint.

       35.      To the extent that paragraph 35 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 35 of the Complaint.

       36.      To the extent that paragraph 36 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

                                                 5
                                                                                        4891-6339-2623
             Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 6 of 14




respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 36 of the Complaint. Further, ADT lacks sufficient

factual basis to determine the accuracy of the remaining allegations set out in paragraph 36, and

therefore denies each of the remaining allegations in paragraph 36 of the Complaint.

       37.      ADT denies the allegations in paragraph 37 of the Complaint.

       38.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 38, and therefore denies each of the allegations in paragraph 38 of the

Complaint.

       39.      To the extent that paragraph 39 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 39 of the Complaint.

       40.      To the extent that paragraph 40 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 40 of the Complaint.

       41.      To the extent that paragraph 41 contains excerpts from publicly available online

sources, ADT denies these allegations as characterizations of written documents, and

respectfully refers the Court to those documents for the full content thereof. ADT otherwise

denies the remaining allegations in paragraph 41 of the Complaint.

       42.      ADT denies the allegations in paragraph 42 of the Complaint.

       43.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 43, and therefore denies each of the allegations in paragraph 43 of the

Complaint.

                                                 6
                                                                                        4891-6339-2623
             Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 7 of 14




                             ACCUSED INSTRUMENTALITIES

       44.      ADT admits that it has provided to its customers QR codes associated with a

website of ADT. ADT denies the remaining allegations in paragraph 44 of the Complaint.

                                       COUNT ONE
                     (Infringement of United States Patent No. 7,992,773)

       43.      ADT reincorporates the preceding paragraphs of this Answer from above.2

       44.      ADT admits that this is an action for alleged patent infringement arising under

Title 35 of the United States Code.

       45.      ADT denies the allegations in paragraph 45 of the Complaint.

       46.      ADT denies the allegations in paragraph 46 of the Complaint.

       47.      ADT denies the allegations in paragraph 47 of the Complaint.

       48.      ADT denies the allegations in paragraph 48 of the Complaint.

       49.      ADT denies the allegations in paragraph 49 of the Complaint.

       50.      This numbered paragraph does not warrant a response from ADT. To the extent

the claim chart of Exhibit D contains allegations, ADT denies all allegations.

       51.      ADT denies the allegations in paragraph 51 of the Complaint.

       52.      ADT denies the allegations in paragraph 52 of the Complaint.

       53.      ADT denies the allegations in paragraph 53 of the Complaint.

       54.      ADT admits that a purported copy of the ’773 Patent, titled “System and Method

for Presenting Information About an Object on a Portable Electronic Device,” is attached to the

Complaint as Exhibit A.

       55.      ADT denies the allegations in paragraph 55 of the Complaint.



2
  The numbered paragraph in the Complaint as well as the ones succeeding it are misnumbered.
For purposes of convenience and clarity, this Answer follows a similar numbering pattern set
forth in the Complaint.
                                                7
                                                                                       4891-6339-2623
             Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 8 of 14




       56.      ADT denies the allegations in paragraph 56 of the Complaint.

       57.      ADT denies the allegations in paragraph 57 of the Complaint.

       58.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 58, and therefore denies each of the allegations in paragraph 58 of the

Complaint.

       59.      ADT denies the allegations in paragraph 59 of the Complaint.

                                       COUNT TWO
                     (Infringement of United States Patent No. 8,424,752)

       60.      ADT reincorporates the preceding paragraphs of this Answer from above.

       61.      ADT admits that this is an action for alleged patent infringement arising under

Title 35 of the United States Code.

       62.      ADT denies the allegations in paragraph 62 of the Complaint.

       63.      ADT denies the allegations in paragraph 63 of the Complaint.

       64.      ADT denies the allegations in paragraph 64 of the Complaint.

       65.      ADT denies the allegations in paragraph 65 of the Complaint.

       66.      ADT denies the allegations in paragraph 66 of the Complaint.

       67.      This numbered paragraph does not warrant a response from ADT. To the extent

the claim chart of Exhibit E contains allegations, ADT denies all allegations.

       68.      ADT denies the allegations in paragraph 68 of the Complaint.

       69.      ADT denies the allegations in paragraph 69 of the Complaint.

       70.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 70, and therefore denies each of the allegations in paragraph 70 of the

Complaint.

       71.      ADT admits that a purported copy of the ’752 Patent, titled “System and Method


                                                 8
                                                                                        4891-6339-2623
             Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 9 of 14




for Presenting Information About an Object on a Portable Electronic Device,” is attached to the

Complaint as Exhibit B. ADT denies that a copy is attached as Exhibit E.

       72.      ADT denies the allegations in paragraph 72 of the Complaint.

       73.      ADT denies the allegations in paragraph 73 of the Complaint.

       74.      ADT denies the allegations in paragraph 74 of the Complaint.

       75.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 75, and therefore denies each of the allegations in paragraph 75 of the

Complaint.

       76.      ADT denies the allegations in paragraph 76 of the Complaint.

                                      COUNT THREE
                     (Infringement of United States Patent No. 8,651,369)

       77.      ADT reincorporates the preceding paragraphs of this Answer from above.

       78.      ADT admits that this is an action for alleged patent infringement arising under

Title 35 of the United States Code.

       79.      ADT denies the allegations in paragraph 79 of the Complaint.

       80.      ADT denies the allegations in paragraph 80 of the Complaint.

       81.      ADT denies the allegations in paragraph 81 of the Complaint.

       82.      ADT denies the allegations in paragraph 82 of the Complaint.

       83.      ADT denies the allegations in paragraph 83 of the Complaint.

       84.      This numbered paragraph does not warrant a response from ADT. To the extent

the claim chart of Exhibit E contains allegations, ADT denies all allegations.

       85.      ADT denies the allegations in paragraph 85 of the Complaint.

       86.      ADT denies the allegations in paragraph 86 of the Complaint.

       87.      ADT lacks sufficient factual basis to determine the accuracy of the allegations set


                                                 9
                                                                                        4891-6339-2623
          Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 10 of 14




out in paragraph 87, and therefore denies each of the allegations in paragraph 87 of the

Complaint.

       88.     ADT admits that a copy of the ’369 Patent, titled “System and Method for

Presenting Information About an Object on a Portable Electronic Device,” is attached to the

Complaint as Exhibit C. ADT denies that a copy is attached to Exhibit F.

       89.     ADT denies the allegations in paragraph 89 of the Complaint.

       90.     ADT denies the allegations in paragraph 90 of the Complaint.

       91.     ADT denies the allegations in paragraph 91 of the Complaint.

       92.     ADT lacks sufficient factual basis to determine the accuracy of the allegations set

out in paragraph 92, and therefore denies each of the allegations in paragraph 92 of the

Complaint.

       93.     ADT denies the allegations in paragraph 93 of the Complaint.

                                DEMAND FOR JURY TRIAL

       94.     Symbology’s demand for a trial by jury is a legal statement that ADT can neither

admit nor deny.3

                                    PRAYER FOR RELIEF

       95.     ADT denies that Symbology is entitled to any requested relief. To the extent not

expressly addressed above, ADT denies the factual allegations in the Complaint.

                                          DEFENSES

                               First Defense (Non-Infringement)

       96.     Symbology is not entitled to any relief against ADT because ADT has not



3
 This numbered paragraph in the Complaint lists a different entity— Rothschild Broadcast
Distribution Systems. ADT answers assuming that the Complaint intended to reference
Symbology since Rothschild Broadcast Distribution Systems is not a named party listed in the
Complaint.
                                             10
                                                                                       4891-6339-2623
             Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 11 of 14




infringed and is not infringing, either directly, indirectly, contributorily, or by inducement, either

literally or under the doctrine of equivalents, any valid, enforceable claim of each of the Patents-

in-Suit.

                                     Second Defense (Invalidity)

           97.    One or more of the claims of the Patents-in-Suit are invalid and/or unenforceable

under one or more provisions of Title 35, United States Code, including, but not limited to, 35

U.S.C. §§ 101, 102, 103 and/or 112.

                               Third Defense (Statute of Limitations)

           98.    Symbology’s claims are barred, some in part and others in toto, by the statute of

limitations, which prevents recovery for “any infringement committed more than six years prior

to the filing of the complaint or counterclaim for infringement in the action.” 35 U.S.C. § 286.

                          Fourth Defense (Prosecution History Estoppel)

           99.    Symbology’s claims are barred by the doctrine of prosecution history estoppel

based on amendments, statements, admissions, omissions, representation disclaimers, and/or

disavowals made during prosecution of the Patents-in-Suit.

                                       Fifth Defense (Waiver)

           100.   Symbology’s claims are barred by equitable doctrine of waiver due to

Symbology’s knowledge of ADT’s allegedly infringing actions, and its unjustified failure to

pursue infringement claims diligently and timely from the time it became aware that it

supposedly had claims against ADT.

                                  Sixth Defense (Failure to Mark)

           101.   Symbology’s claim for damages is limited to the extent Symbology failed to mark

its products, provide notice, or otherwise meet the requirements of 35 U.S.C. § 287.



                                                  11
                                                                                          4891-6339-2623
            Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 12 of 14




                           Seventh Defense (Failure to State a Claim)

       102.    Symbology’s Complaint fails to state a claim for which relief can be granted, in

particular a claim for infringement of the Patents-in-Suit, as required under Federal Rules of

Procedure 12(b)(6).

                               Eighth Defense (Exceptional Case)

       103.    ADT has engaged in all relevant activities in good faith, thereby precluding

Symbology, even if it prevails, from proving that this is an exceptional case justifying a recovery

of its reasonable attorneys’ fees and/or costs under 35 U.S.C. § 285.

                               Ninth Defense (Equitable Defenses)

       104.    Symbology’s claims are barred by the doctrine of unclean hands and/or other

equitable defenses.

                                       OTHER DEFENSES

       105.    ADT reserves all defense under rule 8(c) of the Federal Rules of Civil Procedure,

the Patent Laws of the United States, and any other defenses, at law or equity, that may now

exist or in the future be available based on discovery or other factual investigations in this case.

                                         JURY DEMAND

       106.    ADT requests a trial by jury on all issues triable by a jury.

                                     PRAYER FOR RELIEF

       ADT requests that the Court:

       A.      Dismiss all counts of Symbology’s Complaint for patent infringement with

               prejudice, and award Symbology nothing by way of its Complaint;

       B.      Enter a judgment finding that ADT has not infringed any claim of the Patents-in-

               Suit;

       C.      Enter a judgment that the Patents-in-Suit are invalid;

                                                 12
                                                                                          4891-6339-2623
           Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 13 of 14




      D.      Declare this case to be exceptional under 35 U.S.C. § 285, and enter judgment

              awarding ADT its costs, reasonable attorneys’ fees, and expert witness fees in this

              action; and,

      E.      Award ADT such further relief as the Court may deem just and proper.



Dated: July 14, 2023                        PILLSBURY WINTHROP SHAW PITTMAN LLP

                                             /s/ Michael E. Zeliger
                                            Steven Tepera (TX Bar No. 24053510)
                                            steven.tepera@pillsburylaw.com
                                            401 Congress Avenue, Suite 1700
                                            Austin, TX 78701-3797
                                            Phone: 512.580.9600
                                            Fax: 512.580.9601

                                            Michael E. Zeliger (CA Bar No. 271118)
                                            michael.zeliger@pillsburylaw.com
                                            2550 Hanover Street
                                            Palo Alto, CA 94304
                                            Phone: 650.233.4097
                                            Fax: 650.233.4069

                                            Audrey Lo (CA Bar No. 253738)
                                            audrey.lo@pillsburylaw.com
                                            2550 Hanover Street
                                            Palo Alto, CA 94304
                                            Phone: 650.233.4097
                                            Fax: 650.233.4085

                                            Counsel for Defendant, ADT Inc.




                                              13
                                                                                      4891-6339-2623
         Case 6:23-cv-00402-FB Document 9 Filed 07/14/23 Page 14 of 14




                               CERTIFICATE OF SERVICE

       I hereby certify that on July 14, 2023, a copy of the foregoing document was served on

all parties who have appeared in this case via the Court’s CM/ECF system and as identified on

the Notice of Electronic Filing (NEF).

Dated: July 14, 2023                          /s/ Michael E. Zeliger




                                              14
                                                                                     4891-6339-2623
